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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-07629
                Plaintiff,
                                                   Judge Robert W. Gettleman
v.
                                                   Magistrate Judge Sidney I. Schenkier
DLLL, et al.,
                Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on February 18, 2020 [65], in

favor of H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff”) and against the Defendants

Identified in Schedule A in the amount of five hundred thousand dollars ($500,000) per Defaulting

Defendant, and Harley-Davidson acknowledges payment of an agreed upon damages amount,

costs, and interest and desires to release this judgment and hereby fully and completely satisfy the

same as to the following Defendant:

                Defendant Name                                         Line No.
                Jackim boutique                                           62

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 12th day of June 2020.    Respectfully submitted,


                                     /s/ RiKaleigh C. Johnson
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                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
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